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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,
     Plaintiff,                               Criminal Case No. 21-cr-00195

vs.

DEBORAH SANDOVAL
SALVADOR SANDOVAL, JR.,
     Defendants.




 DEFENDANT SALVADOR SANDOVAL’S MOTION TO DISMISS COUNT
SIX OF THE SUPERSEDING INDICTMENT FOR FAILURE TO STATE AN
   OFFENSE AND MEMORANDUM OF LAW IN SUPPORT THEREOF
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         Defendant Salvador Sandoval hereby moves to dismiss Count Six of the

 Superseding Indictment and, in support of the motion, sets forth the following facts

 and argument.

I.                                            Introduction

     The undersigned attorneys have reviewed a Motion to Dismiss in the case of

United States of America v. Garret Miller, case number 1:21-cr-00119 (CJN) and

consulted with Defendant’s attorney in the Miller case. The facts of the Miller case

are similar to the facts of this matter: specifically, Count Six of Sandoval’s

Superseding Indictment. After consultation with Defendant Miller’s attorney, he has

given us permission to adopt, in whole, his Brief in Support of Motion to Dismiss on

the ground the indictment fails to state an offense in Count Six. Moreover, the

undersigned attaches the Memorandum Opinion of the Honorable Federal District

Court Judge Carl Nichols as further support of Defendant Sandoval’s Motion to

Dismiss.

     Count Six of the Superseding Indictment charges Mr. Sandoval as follows:

     On or about January 6, 2021, within the District of Columbia and elsewhere, SALVADOR
     SANDOVAL JR., attempted to, and did, corruptly obstruct, influence, and impede an official
     proceeding, that is, a proceeding before Congress, specifically, Congress's certification of the
     Electoral College vote as set out in the Twelfth Amendment of the Constitution of the United
     States and 3 U.S.C. §§ 15-18.

     (Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title
     18, United States Code, Sections 1512(c)(2) and 2)
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       Section 1512(c) falls under Chapter 73 of Title 18, which deals with

“Obstruction of Justice.” See generally 18 U.S.C. §§ 1501–1521. As the Ninth

Circuit has carefully considered and recognized, based on the plain language of the

statute, an offense under Section 1512(c) does not prohibit the obstruction of every

governmental function; it only prohibits the obstruction of proceedings such as a

hearing that takes place before a tribunal. See United States v. Ermoian, 752 F.3d

1165, 1171 (9th Cir. 2013). Stated differently, Section 1512(c), by its plain language,

does not criminalize the obstruction of legislative action by Congress. Any alleged

obstruction of the certification of an Electoral College vote is simply outside of the

reach of Section 1512(c).
II.                                    Discussion

       A. Standard of Review

       A defendant may move to dismiss an indictment on the grounds that it fails to

state an offense. Fed. R. Crim. P. 12(b)(3)(B). In considering a Rule 12 motion to

dismiss, “the Court is bound to accept the facts stated in the indictment as true.”

United States v. Syring, 522 F. Supp. 2d 125, 128 (D.D.C. 2007); United States v.

Sampson, 371 U.S. 75, 78 (1962). Accordingly, “the Court cannot consider facts

beyond the four corners of the indictment.” United States v. Ring, 628 F. Supp. 2d

195, 204 (D.D.C. 2009) (internal quotations omitted).


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       B. Count Six Fails to State an Offense

       As noted above, Count Six of the Superseding Indictment charges that Mr.

Sandoval obstructed an “official proceeding,” in violation of 18 U.S.C. § 1512(c)(2) and

it identifies that “proceeding” as “Congress’s certification of the Electoral College

vote.” Nevertheless, as set forth below, the Electoral College certification before

Congress does not constitute an “official proceeding” under 18 U.S.C. § 1512(c)(2).

              1. As with All Penal Statutes, § 1512 Must Be Strictly
              Construed.1

       To determine legislative intent, courts “As always we begin with the text of

the statute.” Am. Fed'n of Gov't Emps., AFL–CIO, Local 3669 v. Shinseki, 709 F.3d

29, 33 (D.C.Cir. 2013). “It is elementary that the meaning of a statute must, in the

first instance, be sought in the language in which the act is framed, and if that is plain...the

sole function of the courts is to enforce it according to its terms.” United States v.

Hite, 769 F.3d 1154, 1160 (D.C. Cir. 2014) (quoting Caminetti v. United States, 242

U.S. 470, 485 (1917) (internal quotes omitted)). “The search for the meaning of the

statute must also include an examination of the statute's context and history.” Hite,

769 F.3d at 1160.

        “[D]ue process bars courts from applying a novel construction of a criminal

  statute to conduct that neither the statute nor any prior judicial decision has fairly

disclosed to be within its scope.” United States v. Lanier, 520 U.S. 259, 268 (1997).
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 Specifically in relation to §1512, the Supreme Court has instructed lower courts

to “exercise[] restraint in assessing the reach of [the]...statute both out of

deference to ...Congress...and out of concern that a fair warning should be

 given to the world in language that the common world will understand, of what the law

intends to do if a certain line is passed[.]” United States v. Arthur Andersen, LLP,

544 U.S. 696, 703 (2005) (internal citations omitted).

              2. An “Official Proceeding” Under § 1512(c) is Judicial
              or Quasi-Judicial in Nature.

       A review of the text, history, and judicial interpretation of § 1512, especially

in light of the Supreme Court’s long-standing guidance to strictly construe penal

statutes, demonstrates that this statute, which punishes obstruction of “official

proceedings,” does not apply to the Electoral College certification.

       Ermoian was one of the first appellate decisions to consider the meaning of

“official proceeding” as that term is used in Section 1512(c) and defined in Section

1515. See Ermoian, 752 F.3d at 1168 (“Our circuit has never before addressed the

meaning of the term ‘official proceeding’ as used in the obstruction of justice statute

at 18 U.S.C. § 1512.”). Although that case considered whether a criminal

investigation by the FBI was considered an “official proceeding” for purposes of the

statute, the Court noted, “[a]s used in the statute, the definition of the phrase ‘official

proceeding’ depends heavily on the meaning of the word ‘proceeding’” and further

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noted, “[t]hat word is used — somewhat circularly — in each of the definitions for

an ‘official proceeding’ and is key to the phrase’s meaning.” Id. at 1169.

       Reviewing the plain language of Section 1515, the Ermoian Court explained

that “[s]everal aspects of the definition for ‘official proceeding’ suggest that the legal

— rather than the lay — understanding of the term ‘proceeding’ is implicated in the

statute.” Id. at 1170. As the Court pointed out, “the descriptor ‘official’ indicates a

sense of formality normally associated with legal proceedings,” and not “a mere

‘action or series of actions.’” Id. (citing “Proceeding,” Oxford English Dictionary).

Moreover, the Court pointed to the fact that “the word ‘proceeding’ is surrounded

with other words that contemplate a legal usage of the term, including ‘judge or

court,’ ‘Federal grand jury,’ ‘Congress,’ and ‘Federal Government agency.’” Id.

       The Ninth Circuit then turned to the broader statutory context, looking at

Section 1515 as a whole, noting that “[t]he use of the preposition ‘before’ suggests

an appearance in front of the agency sitting as a tribunal.” Id. at 1171 (emphasis

added). The Court further looked to another circuit’s interpretation of the phrase

“official proceeding” and noted, “[a]s the Fifth Circuit explained when addressing

this same definition, ‘use[ of] the preposition ‘before’ in connection with the term

‘Federal Government agency’ ... implies that an ‘official proceeding’ involves some

formal convocation of the agency in which parties are directed to appear.” Id.

(quoting United States v. Ramos, 537 F.3d 439, 462–63 (5th Cir. 2008)).
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Additionally, the Ninth Circuit pointed out, “The use of the terms ‘attendance’,

‘testimony’, ‘production’, and ‘summon[]’ when describing an official proceeding

strongly implies that some formal hearing before a tribunal is contemplated.” Id. at

1172. In conclusion, the Ermoian Court considered “the plain meaning of the term

‘proceeding,’ its use in the grammatical context of the ‘official proceeding’ definition,

and the broader statutory context” to hold that a criminal investigation is not an

“official proceeding” under Section 1512(c). Id.2


       This interpretation, reasoning, and logic applies equally here. Looking at

Section 1512 as a whole, it is obvious that the statute solely prohibits conduct at

hearings that affect the administration of justice. See 18 U.S.C. § 1512.3 The statute

repeatedly references “proceedings” in the context of investigations and legal

proceedings related to a criminal investigation. Id. Even the title of the offense

relates to “Tampering with a witness, victim, or an informant.” Id.4 There is little

       2
        See also United States v. Binette, 828 F. Supp. 2d 402, 403-404 (D. Mass. 2011)
(Finding that a “preliminary” SEC investigation did not constitute an “official proceeding” under
§ 1512 as compelled attendance, sworn testimony, and subpoena powers had not taken effect).
       3
         See McAndrew v. Lockheed Martin Corp., 206 F.3d 1031, 1039 (11th Cir. 2000)
(“Section 1512... applies to attempts to prevent or influence testimony not only in federal courts
but also before Congress, federal agencies, and insurance regulators.” (emphasis added)); United
States v. Dunn, 434 F. Supp. 2d 1203, 1207 (M.D. Ga. 2006) (“...§ 1515(a)(1),,,describe(s)
events that are best thought of as hearings (or something akin to hearings): for example, federal
court cases, grand jury testimony, Congressional testimony, and insurance regulatory hearings”
(emphasis added).
       4
          See I.N.S. v. Nat’l Ctr. for Immigrants’ Rts., Inc., 502 U.S. 183, 189 (1991) (“[T]he title
of a statute or section can aid in resolving an ambiguity in the legislation’s text.”).
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doubt, based on the language of the statute, that the “official proceeding” — and more

specifically, the “proceeding before Congress” — that was allegedly obstructed by

Mr. Sandoval must relate to a Congressional hearing affecting the administration of

justice.

       This is consistent with the case law that has clarified the meaning of the

statutory language at issue here. See e.g. Arthur Andersen LLP, 544 U.S. at 708

(Interpreting Section 1512(c) as requiring that the defendant have “knowledge that

his actions are likely to affect [a] judicial proceeding” in order to have the “requisite

intent to obstruct”); United States v. Burge, 711 F.3d 803, 809 (7th Cir.) (Considering

application of Section 1512 and noting “[o]bstruction of justice occurs when a

defendant acts to impede the types of proceedings that take place before judges or

grand juries”), cert. denied, 571 U.S. 888 (2013); United States v. Sampson, 898 F.3d

287, 300 (2nd Cir. 2018) (Noting Section 1512 “broadly criminalizes various forms

of witness tampering”).

                3. Other Tools of Statutory Interpretation Support Mr
                Sandoval’s Motion to Dismiss.

       Sections 1512 and 1515 are contained in Chapter 73 of Title 18 of the United

States Code. Examining the surrounding statutory provisions in Chapter 73 further




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support Mr. Sandoval’s interpretation of the statute at issue.5 Each one of the statutes

contained in Chapter 73 proscribe obstructive conduct for very specific subjects and

settings related to the administration of justice. For instance, Section 1510 deals with

obstruction of criminal investigations. Sections 1516 through 1518 criminalizes

obstruction of specific types of other investigations. See 18 U.S.C. §§ 1516

(Obstruction of a federal audit); 1517 (Obstruction of examination of financial

institution); 1518 (Obstruction of investigations of health care offenses). Section

1519 prohibits the destruction, alteration, or falsification of records during a federal

investigation.

       Other provisions in Chapter 73 also explicitly relate to the administration of

justice. See 18 U.S.C. §§ 1503, 1504 (Influencing or injuring a juror); 1513

(Retaliating against a witness, victim, or informant); 1521 (Retaliating against a

federal judge or law enforcement officer by false claim or slander of title). There is

even a statute to prohibit “picketing or parading” near the residence of a judge, juror,

witness, or court officer “with the intent of interfering with, obstruction, or impeding

the administration of justice.” 18 U.S.C. § 1507 (emphasis added). As all these laws


       5
         See NASDAQ Stock Mkt., LLC v. Sec. & Exch. Comm’n, 961 F.3d 421, 426 (D.C. Cir.
2020) (quoting Util. Air Regulatory Grp. v. E.P.A., 573 U.S. 302, 321 (2014)) (“A statutory
provision that may seem ambiguous in isolation is often clarified by the remainder of the
statutory scheme[,] because only one of the permissible meanings produces a substantive effect
that is compatible with the rest of the law.”).

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are related to the obstruction of the administration of justice and serve to protect

participants in the administration of justice, it follows that, in order to violate Section

1512(c), there must be some allegation that the “official proceeding” allegedly

obstructed, in fact, related to the administration of justice.

       Although not required due to the plain meaning of the statute, this Court can

also take comfort by looking at the legislative intent behind Section 1512(c) to know

what was meant by “official proceeding” as used in that statute. See Exxon Mobil

Corp. v. Allapattah Servs., Inc., 545 U.S. 546, 568 (2005) (“Extrinsic materials have

a role in statutory interpretation only to the extent they shed a reliable light on the

enacting Legislature’s understanding of otherwise ambiguous terms.”). Section

1512(c) was passed as part of the Sarbanes-Oxley Act of 2002, “An Act to protect

investors by improving the accuracy and reliability of corporate disclosures made

pursuant to securities laws, and for other purposes.” Sarbanes–Oxley Act of 2002,

Pub. L. No. 107-204, 116 Stat. 745. The Senate Judiciary Committee report

described the Act’s purpose as “provid[ing] for criminal prosecution and enhanced

penalties of persons who defraud investors in publicly traded securities or alter or

destroy evidence in certain Federal investigations.” S. REP. NO. 107-146, at 2 (2002)

(emphasis added). As for the use of the term “official proceeding” in Section

1512(c), because the legislation was due in part to the collapse of Enron, the


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Committee Report noted that much of Enron’s document destruction was “undertaken in

anticipation of a SEC subpoena to Andersen for its auditing and consulting work

related to Enron.” Id. at 4. Congress was adamant that “[w]hen a person destroys

evidence with the intent of obstructing any type of investigation and the matter is

within the jurisdiction of a federal agency, overly technical legal distinctions should

neither hinder nor prevent prosecution and punishment.” Id. at 6–7. In short, when

considering the Act’s preamble and the legislative history, it is clear that Section

1512(c) was aimed at preventing corporations from destroying records relevant to a

federal hearing related to the administration of justice and was not intended to apply

in all circumstances where any government function may have been impeded.

             4. Department of Justice’s Own Interpretation of §
             1512(c) Supports Mr. Sandoval’s Motion to Dismiss.

      Mr. Sandoval’s interpretation of Section 1512(c) is even consistent with the

Department of Justice’s own interpretation as reflected in their Criminal Resource

Manual discussing the application of Section 1512:

      Section 1512 of Title 18 constitutes a broad prohibition against
      tampering with a witness, victim or informant. It proscribes conduct
      intended to illegitimately affect the presentation of evidence in Federal
      proceedings or the communication of information to Federal law
      enforcement officers.




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Criminal Resource Manual, CRM 1729, Department of Justice (emphasis added)6

                 5. Congress Has Used Other Terms to Describe
                 Interference with the Electoral College Certification.

       Mr. Sandoval submits that the government incorrectly conflated an “official

proceeding” under § 1512 with a “federally protected function” under 18 U.S.C. §

231(a)(3) or the “official business” of Congress under 40 U.S.C. § 5104(e)(2)(c). In

Counts One and Two of the Superseding Indictment, for example, the government

charged Mr. Sandoval with Civil Disorder under 18 U.S.C. § 231(a)(3), alleging that

his actions “affected the conduct and performance of a federally protected

function.”7 Similarly, in Counts Ten and Eleven, the government charged Mr.

Sandoval with violating 40 U.S.C. § 5104, which prohibits entering “any of the Capitol

Building[s]” intending “to disrupt the orderly conduct of official business[.]” 40

U.S.C. § 5104(e)(2)(c) (emphasis added).



       6
         Found at:
https://www.justice.gov/archives/jm/criminal-resource-manual-1729-protection-government-proc
esses-tampering-victims-witnesses-or
       7
           The term “federally protected function” is defined as:

       [A]ny function, operation, or action carried out, under the laws of the United
       States, by any department, agency, or instrumentality of the United States or by an
       officer or employee thereof; and such term shall specifically include, but not be
       limited to, the collection and distribution of the United States mails.

18 U.S.C. § 232(3).

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III.                                      CONCLUSION

       Based upon the foregoing, it appears that, in its haste to prosecute the Capitol

 protestors with every conceivable violation and to proverbially “throw the book” at

 them, the government has taken liberties with the application of 18 U.S.C. § 1512(c).

 Indeed, no court has ever interpreted an “official proceeding,” as that term is used in

 Section 1512(c), so broadly as to encompass an event such as the certification of the

 Electoral College vote. The government is asking this Court to go well beyond the

 plain meaning of the term “proceeding,” its use in the grammatical context of the

 “official proceeding” definition, the broader statutory context, and the legislative

 history.

       While the Electoral College certification was arguably a “federally protected

 function,” and definitely “official business” of Congress, it clearly was not an

 evidence-gathering, formal, judicial, or quasi-judicial event which is the purpose

 behind the enactment of 18 U.S.C. § 1512(c).

       The government has attempted to stretch 18 U.S.C. § 1512(c) beyond its plain

 meaning and beyond the intent of Congress when it enacted it. Nevertheless, “hard

 cases cannot be permitted to make bad law.”8 Count Six as charged in the

 Superseding Indictment fails to state an offense and should be dismissed.


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           Morgan County v. Allen, 103 U.S. 498 (1880)

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                                      CERTIFICATE OF SERVICE

        I hereby declare that on April 4, 2022, I electronically filed the foregoing with the Clerk of Court
using the ECF system which will send notification of such filing to the following:

Mr. Louis Manzo
Department of Justice
1400 New York Avenue NW
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